 Case 1:17-cv-00671-RJJ-PJG ECF No. 33 filed 04/06/18 PageID.210 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



TRAVIS TERRY,

             Plaintiff,
                                                          CASE NO. 1:17-CV-671
v.
                                                          HON. ROBERT J. JONKER
WEST SHORELINE CORRECTIONAL
FACILITY, et al.,

            Defendant.
__________________________________/

                                          ORDER

      This matter came up for hearing on April 5, 2018, on Defendants’ Motion to Dismiss. For

the reasons recited from the bench IT IS ORDERED that:

      1.     Defendant’s motion (ECF No. 28) is GRANTED IN PART and DENIED IN

             PART.

      2.     Defendant Harry is DISMISSED as a party defendant from this case. Plaintiff will

             be dropping Defendant West Shoreline Correctional Facility, and substituting the

             Michigan Department of Corrections within 14 days of the Rule 16.

      3.     Counts III, IV, and VI of the Second Amended Complaint are DISMISSED

             WITHOUT PREJUDICE because the Court declines to exercise supplemental

             jurisdiction. To the extent Count IV (wrongful discharge) means to assert a claim

             implicating a collective bargaining agreement, it is preempted and dismissed with

             prejudice, as barred by the statute of limitations. See DelCostello v. Int’l Bhd. of

             Teamsters, 462 U.S. 151, 169 (1983); Alongi v. Ford Motor Co., 386 F.3d 716,

             723-24 (6th Cir. 2004).
 Case 1:17-cv-00671-RJJ-PJG ECF No. 33 filed 04/06/18 PageID.211 Page 2 of 2




        4.     Count V of the Second Amended Complaint is DISMISSED WITH PREJUDICE

               because it fails on the merits. See 42 U.S.C. § 1981a(b).



Date:    April 6, 2018                       /s/ Robert J. Jonker
                                             ROBERT J. JONKER
                                             CHIEF UNITED STATES DISTRICT JUDGE




                                                2
